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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                   Justin Tyler Herring,
                          Plaintiff
                             v.                                             Civil Action No.        1:20-cv-02909-MBS
                                                                    )
South Carolina Department of Corrections; Associate                 )
                                                                    )
    Warden Gary Leamon Associate Warden of
                                                                    )
  Programs in his individual capacity; Turbeville
                                                                    )
  Correctional Institute in their official capacity as
        Turbeville Correctional Institution,

                         Defendants.

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)          recover from the defendant (name)             the amount of                          dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

O The plaintiff, Justin Tyler Herring, shall take nothing of the defendants, South Carolina Department of Corrections,
Associate Warden Gary Leamon Associate Warden of Programs in his individual capacity and Turbeville Correctional
Institute in their official capacity as Turbeville Correctional Institution, and this action is dismissed without prejudice.

This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Margaret B. Seymour, Senior United States District Judge, presiding, adopting the Report
and Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended
dismissing the action.

Date: October 7, 2020                                                      ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
